      Case 2:23-cv-02167-AJS-MPK            Document 60       Filed 04/30/25       Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHERI DIGREGORIO                                   )
Individually and as administratrix of the estate   )
of Todd Digregorio, Deceased,                      )      Civil Action No. 23-2167
                                                   )
               Plaintiff,                          )      Judge Arthur J. Schwab
                                                   )      Magistrate Judge Maureen P. Kelly
                         v.                        )
                                                   )
TRIVIUM PACKAGING COMPANY                          )
Individually and as successor in interest to       )
Exal Corporation; UNUM LIFE                        )
INSURANCE COMPANY OF AMERICA,                      )
                                                   )
               Defendants.                         )
                                                   )

                                        HEARING MEMO

             HEARING HELD: Initial Case Management Conference (by telephone)
                       DATE HEARING HELD: April 30, 2025
                      BEFORE: Magistrate Judge Maureen P. Kelly

 Appearing for Plaintiff:                              Appearing for Defendants:
 George R. Farneth, II., Esq.                          Eric Baisden, Esq.
                                                       Nicolas Burnosky, Esq.

 Hearing began at 11:00 AM                             Hearing concluded at 11:31 AM

 Stenographer: None.

                                            OUTCOME:

 1.     Reviewed background facts, claims and defenses. Additional information provided.
 2.     UNUM case file to be produced as part of initial disclosures.
 3.     Discussed anticipated discovery. ESI only expected to involve emails. Counsel will file
 joint proposed Rule 502d order and protective order, if needed.
 4.     Addressed case management deadlines. Scheduling order will be issued.
 5.     Parties have agreed to ADR in the form of mediation with Mark Shepard. ADR referral
 order will be issued.
 6.     Court encouraged the parties to work to early resolution of this matter.
